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ESI COMPANIES, [NC.,
Plaintiff,
V.

CASE NO. 2:05-CV-02241-SHM-tmp

GLOBAL SECURITY GLAZING fJ'k/a
and d/b/a GLOBE AMERADA
ARCHITECTURAL GLASS,

Defendant.

 

-JGTNT SCHEDULING ORDER

Pu;rsuzmt to a written notice, a scheduling conference Was held June 16, 2005. Present
were Bart W. Reed, counsel for plaintiff, and Jef Feibelman, counsel for defendant At the
conference, the following dates were established as the final dates for:

]NITIAL DISCLOSURES PURSUA_NT TO Fed.R.Civ.P. 26(a)(1): July 15, 2005
JO]N]NG PARTIES: August 15, 2005
AMENDING PLEADINGS: August 15, 2005
INITIAL MOTIONS TO DISMISS: Septernber 15, 2005
COMPLETING ALL DISCOVERY: February 15, 2006
(a) DOCUMENT PR.ODUCTION: December l, 2005
(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
February 15, 2006
(c) EXPERT WITNESS DlSCLOSUR_E (Rule 26): N/A
(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:

December 15, 2005

T!-is document entered on the docket sheet in com !`!ance
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(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: January 15, 2006
(3) EX_PERT WITNESS DEPOSITIONS: February 15, 2006
FILING DISPOSITIVE MOTIONS: March 15, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur alter the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for non-jury trial. The pretrial order date, pretrial conference date, and
trial date will be set by the presiding judge. lt is anticipated that the trial of this case will last
approximately one to two weeks.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation by January 20, 2006.

The parties are reminded that pursuant to Local Rule l l(a)( 1 (A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party

may file an additional reply, however, without leave of court. If a party believes that a reply is

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necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required
The parties have not consented to trial before the magistrate judge
This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

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TU M. PHAM ‘
UNITED sTATEs MAGISTRATE IUDGE

DATE: ’5_\’\£)`. l"ii iion

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extended.

IT IS SO ORDER_ED.

 

 

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TATES DISTCRIT OURT - WETRNDISTRICT OF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-0224l was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Jef Feibelman

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Honorable Samuel Mays
US DISTRICT COURT

